Case 1:18-cr-00083-TSE Document 298 Filed 09/26/18 Page 1 of 3 PageID# 6620



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


               Defendant.




           GOVERNMENT’S NOTICE REGARDING REMAINING COUNTS

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this notice in response to the Court’s August 30, 2018 Order (Doc. 292).

       On August 21, 2018, a jury found the defendant guilty of eight counts of the Superseding

Indictment, and was unable to reach a unanimous verdict on Counts 11, 13, 14, 24, 26, 28, 29, 30,

31 and 32 (the hung counts).

       On September 14, 2018, defendant Paul J. Manafort, Jr. pleaded guilty in United States v.

Manafort, 1:17-201-1 (D.D.C.) (ABJ) (S-5), pursuant to a plea agreement. Pursuant to that

agreement, which previously was submitted to the Court, Manafort agreed not to pursue any post-

trial motions herein, among other things. He also admitted the underlying conduct alleged in the

hung counts.

       On August 30, 2018, the Court ordered the government to file notice of its intent to retry

the hung counts, one week after any defense post-trial motions. On September 20, 2018, the

defense filed notice with this Court that pursuant to the plea agreement defendant was not filing

any post-trial motions. Pursuant to the plea agreement, the parties agreed that the government will



                                                1
Case 1:18-cr-00083-TSE Document 298 Filed 09/26/18 Page 2 of 3 PageID# 6621



move to dismiss the hung counts and any other remaining counts at the time of sentence or at the

completion of his successful cooperation, whichever is later.

        The government has advised the defense of this filing.




                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER, III
                                                    Special Counsel

Dated: September 26, 2018                           /s/
                                                    Andrew Weissmann
Uzo Asonye                                          Greg D. Andres
Assistant United States Attorney                    Brandon L. Van Grack
Eastern District of Virginia                        Special Counsel’s Office
                                                    U.S. Department of Justice
                                                    950 Pennsylvania Avenue NW
                                                    Washington, D.C. 20530
                                                    Telephone: (202) 616-0800
                                                    Attorneys for United States of America




                                                2
 Case 1:18-cr-00083-TSE Document 298 Filed 09/26/18 Page 3 of 3 PageID# 6622



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of September, 2018, I will cause to be filed

electronically the foregoing with the Clerk of Court using the CM/ECF system, which will then

send a notification of such filing (NEF) to the following:

Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                           /s/
                                                     Uzo Asonye
                                                     Assistant United States Attorney
                                                     U.S. Attorney’s Office
                                                     Eastern District of Virginia
                                                     2100 Jamieson Avenue
                                                     Alexandria, VA 22314
                                                     uzo.asonye@usdoj.gov
                                                     Phone: (703) 299-3700
                                                     Fax: (703) 299-3981
                                                     Attorney for the United States of America




                                                 3
